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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA




UNITED STATES OF AMERICA                            :
                                                    :
                  v.                                :
                                                    :
DKYLE JAMAL BRIDGES                                 :     CRIMINAL NO. 18-193-01




                 AND NOW, this 18th day of January, 2019, it is

                 ORDERED that excludable time in the above-captioned case be computed and entered

in the record from the date of filing of the DEFENDANT’S MOTION TO CONDUCT FRANKS

HEARING, document number 121, filed on January 18, 2019, until such time that a hearing on said motion

is concluded or other prompt disposition is made.




                                                          Nitza I. Quiñones Alejandro, J.


                                                          BY THE COURT:

                                                          ATTEST:


                                                          /s/Rosalind Burton Hoop
                                                          Rosalind Burton Hoop, Deputy Clerk



(CODE - E)


    The court deems this case "UNTRIABLE".




Cr 27b (8\80)
